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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS

 IN RE: TESTOSTERONE REPLACEMENT                    MDL No. 2545
 THERAPY PRODUCTS LIABILITY
 LITIGATION

 This Document Relates to All Cases                 Master Docket Case No. 1:14-cv-01748

                                                    Honorable Matthew F. Kennelly


          JOINT STATUS REPORT REGARDING STIPULATIONS OF DISMISSAL

          The parties filed a joint stipulation of dismissal without prejudice (dkt. 2610) and a joint

 stipulation of dismissal with prejudice as to Besins Healthcare, Inc. (dkt. 2609). The Court

 directed counsel to submit a joint status report providing an explanation for these stipulations of

 dismissal. Dkt. 2633. Accordingly, the parties submit the following:

I.        Stipulation of Dismissal Without Prejudice (dkt. 2610)

          Several Plaintiffs with Illinois or Delaware citizenship named AbbVie Inc. and Abbott

 Laboratories. Both AbbVie Inc. and Abbott laboratories have Illinois and Delaware citizenship

 based on their Delaware incorporation and Illinois principal places of business. These Plaintiffs

 assert that AbbVie Inc. and Abbott Laboratories are essential defendants to these actions. The

 parties have agreed to dismiss these actions without prejudice, tolling the statutes of limitations

 and repose for 90 days so as to facilitate the refiling of these cases in state court. These cases will

 not continue in the MDL.

II.       Stipulation of Dismissal With Prejudice as to Besins Healthcare, Inc. (dkt. 2609)

          Several Plaintiffs with Virginia citizenship inadvertently named Besins Healthcare, Inc.

 in their cases against the AbbVie defendants. Besins Healthcare, Inc. is a Virginia citizen based

 on its principal place of business. The parties have jointly stipulated to the dismissal of Besins




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Healthcare, Inc. only so as to preserve diversity jurisdiction in those cases. These cases will still

continue in the MDL.



Dated: May 21, 2018                           Respectfully submitted,

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                                  CERTIFICATE OF SERVICE


       I hereby certify that on May 21, 2018, the foregoing document was filed via the Court’s

CM/ECF system, which will automatically serve and send email notification of such filing to all

registered attorneys of record.



                                           /s/ Brendan A. Smith

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